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                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA


 IN RE: BROILER CHICKEN GROWER
 LITIGATION                                                  No. 6:17-CV-00033-RJS

                                                             The Honorable Robert J. Shelby
 This Document Relates To All Cases


                     DEFENDANTS’ MOTION TO STAY PROCEEDINGS
                        PENDING DECISION ON MDL TRANSFER

       Defendants Tyson and Perdue (“Defendants”) by and through the undersigned counsel,

respectfully move to stay further proceedings in this case pending transfer and consolidation by

the Judicial Panel for Multidistrict Litigation (“JPML”) into a Multi-District Litigation (“MDL”).

In support of this motion, Defendants state as follows:

       1.      A substantively similar action is pending before Judge James C. Dever in the

Eastern District of North Carolina. See Haff Poultry, Inc., et al. v. Koch Foods, Inc., et al., Case

No. 7:18-CV-00031-D (E.D.N.C.). Plaintiffs moved to consolidate both actions in this Court on

March 8, 2018. See In re: Broiler Chicken Litigation MDL No. 2838, Doc. 1 (JPML). Defendants

do not oppose Plaintiffs’ motion.

       2.      A stay pending MDL transfer will help ensure efficiency and avoid inconsistent

results given the multiple actions concerning the same subject matter that are poised to be

centralized in a MDL proceeding.

       3.      Defendants met and conferred with Plaintiffs regarding this motion, which

Plaintiffs oppose.

       WHEREFORE, for these reasons and those set forth in the accompanying memorandum in

support, Defendants respectfully request that the Court stay further proceedings in this case
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pending the JPML’s decision to transfer this action into the MDL proceeding. A supporting

memorandum is attached.

 Dated: March 23, 2018                         Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       On March 23, 2018, I electronically transmitted a true and correct copy of the foregoing
document to the Clerk of Court for filing using the CM/ECF system, which will send notification
of such filing to all counsel of record.

                                                   /s/ John D. Harkrider
